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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


                                                         x
In re:                                                   : Chapter 11
                                                         :
SIGNAL INTERNATIONAL, INC., et al., 1                    : Case No. 15-11498 (MFW)
                                                         :
                           Debtors.                      : Jointly Administered
                                                         x


      AMENDED SCHEDULE E-2 OF THE SCHEDULES OF ASSETS AND
    LIABILITIES FOR SIGNAL INTERNATIONAL, LLC (CASE NO. 15-11500)




________________________________________________________________________
1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Signal International, Inc. (4248); Signal Ship Repair, LLC (2642); Signal
International, LLC (5074); Signal International Texas GP, LLC (3050); and Signal International Texas,
L.P. (5066). The Debtors’ principal offices are located at RSA Battle House Tower, 11 North Water Street,
Mobile, Alabama 36602.
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B6E (Official Form 6E) (04/13)

In re: Signal International, LLC                                                                                                          Case No. 15-11500 (MFW)

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
 address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
 property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
 the type of priority.

      The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian,
 such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "HWJC." If the
 claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
 "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
 these three columns.)




    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
 Schedule E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
 amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
 with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
 amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual
 debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.



         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIM (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic Support Obligations

        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible
    relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).



         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of
    a trustee or the order for relief. 11 U.S.C. § 507(a)(3).


         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent
    sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of
    business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    *Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




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B6E (Official Form 6E) (04/13) - Cont.


In re: Signal International, LLC                                                                                                             Case No. 15-11500 (MFW)

          Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


          Deposits by individuals

         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).


          Taxes and Certain Other Debts Owed to Governmental Units

         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to Maintain the Capital of an Insured Depository Institution

        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for Death or Personal Injury While Debtor Was Intoxicated

        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507 (a)(10).


     *Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




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                                         Case 15-11500-MFW            Doc 5          Filed 08/18/15    Page 4 of 11
B6E (Official Form 6E) (04/13) - Cont.

In re: Signal International, LLC                                                                               Case No. 15-11500 (MFW)

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                     (Continuation Sheet)


                                                                               C     U   D
                                               C                               O     N   I
               CREDITOR'S NAME,                O          DATE CLAIM WAS       N     L   S   AMOUNT          AMOUNT                AMOUNT
               MAILING ADDRESS,                D   H       INCURRED AND        T     I   P     OF            ENTITLED                NOT
              INCLUDING ZIP CODE,              E   W      CONSIDERATION        I     Q   U    CLAIM             TO                 ENTITLED
             AND ACCOUNT NUMBER                B   J          FOR CLAIM        N     U   T                   PRIORITY                 TO
              (See Instructions Above.)        T   C                           G     I   E                                        PRIORITY, IF
                                               O                               E     D   D                                            ANY
                                               R                               N     A
                                                                               T     T
                                                                                     E
                                                                                     D

                                                       Tax Claims              X     X   X       Unknown                Unknown           Unknown

See Schedule E-1 Attachment




                                                       Employee Vacation                       $350,747.98        $331,837.64           $18,910.34
                                                       Accrual Claims
See Schedule Amended E-2 Attachment




                                                   Subtotals (Totals on this page)           $350,747.98       $331,837.64           $18,910.34




                                                                           Page 3 of 4
                                         Case 15-11500-MFW                Doc 5          Filed 08/18/15      Page 5 of 11
B6E (Official Form 6E) (04/13) - Cont.

In re: Signal International, LLC                                                                                     Case No. 15-11500 (MFW)

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                         (Continuation Sheet)


                                                                                    C      U   D
                                                  C                                 O      N   I
               CREDITOR'S NAME,                   O           DATE CLAIM WAS        N      L   S   AMOUNT          AMOUNT              AMOUNT
               MAILING ADDRESS,                   D    H       INCURRED AND         T      I   P     OF            ENTITLED              NOT
              INCLUDING ZIP CODE,                 E    W      CONSIDERATION         I      Q   U    CLAIM             TO               ENTITLED
             AND ACCOUNT NUMBER                   B    J          FOR CLAIM         N      U   T                   PRIORITY               TO
              (See Instructions Above.)           T    C                            G      I   E                                      PRIORITY, IF
                                                  O                                 E      D   D                                          ANY
                                                  R                                 N      A
                                                                                    T      T
                                                                                           E
                                                                                           D

                                                      Subtotals (Totals on this page):                   $0.00                $0.00            $0.00
                                                                              Total:               $350,747.98
                                           (Report also on the Summary of Schedules)
                                                                                 Totals:                             $331,837.64         $18,910.34
                                              (Report also on the Statistical Summary
                                                   of Certain Liabilities Related Data)




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                                                                             In re: Signal International, LLC
                                                                                    Case No. 15-11500
                                                                                  Amended Schedule E-2
                                                                              Employee Vacation Accrual Claims




                                                                                                                                                               Unliquidated
                                                                                                                                                  Contingent
                                                                                                                               Date claim was




                                                                                                                 Codebtor




                                                                                                                                                                              Disputed
                                                                                                                                incurred and                                                                                  Amount not
                                                                                                                              consideration for                                          Total amount of   Amount entitled     entitled to
Creditor's Name        Creditor Notice Name   Address 1          Address 2   City    State    Zip      Country                       claim                                                    claim          to priority     priority, if any
                                                                                                                            Employee Vacation
ARNOLD, STEVEN         Emp No: 020305         Address Redacted                                                              Accrual Claim                                                     $10,200.47        $10,200.47
                                                                                                                            Employee Vacation
BARFIELD, JUDY         Emp No: 211525         Address Redacted                                                              Accrual Claim                                                      $3,201.48         $3,201.48
                                                                                                                            Employee Vacation
BARFIELD, RANDY        Emp No: 020232         Address Redacted                                                              Accrual Claim                                                     $11,317.59        $11,317.59
                                                                                                                            Employee Vacation
BARTIMUS, BRENDA       Emp No: 213394         Address Redacted                                                              Accrual Claim                                                      $2,943.67         $2,943.67
                                                                                                                            Employee Vacation
BINION, TRACEY         Emp No: 003197         Address Redacted                                                              Accrual Claim                                                      $9,942.65         $9,942.65
                                                                                                                            Employee Vacation
BLAKE, WILLIAM         Emp No: 215359         Address Redacted                                                              Accrual Claim                                                      $2,877.08         $2,877.08
                                                                                                                            Employee Vacation
BLANCO, EDDIE          Emp No: 214145         Address Redacted                                                              Accrual Claim                                                        $569.23           $569.23
                                                                                                                            Employee Vacation
BLAVOS, DANIEL         Emp No: 215538         Address Redacted                                                              Accrual Claim                                                        $230.77           $230.77
                                                                                                                            Employee Vacation
BLONDE, MATTHEW        Emp No: 020227         Address Redacted                                                              Accrual Claim                                                      $3,644.72         $3,644.72
                                                                                                                            Employee Vacation
BRYAN, LISA            Emp No: 002006         Address Redacted                                                              Accrual Claim                                                        $560.02           $560.02
                                                                                                                            Employee Vacation
BUSBY, ROBERT          Emp No: 200889         Address Redacted                                                              Accrual Claim                                                     $12,721.15        $12,475.00            $246.15
                                                                                                                            Employee Vacation
CANTERBURY, DAVID      Emp No: 001202         Address Redacted                                                              Accrual Claim                                                      $2,115.39         $2,115.39
                                                                                                                            Employee Vacation
CANTERBURY, KIMBERLY   Emp No: 211385         Address Redacted                                                              Accrual Claim                                                        $590.00           $590.00
                                                                                                                            Employee Vacation
CLARK, BRANDY          Emp No: 215003         Address Redacted                                                              Accrual Claim                                                      $1,436.54         $1,436.54
                                                                                                                            Employee Vacation
CLARK, DAVID           Emp No: 001969         Address Redacted                                                              Accrual Claim                                                      $2,727.00         $2,727.00
                                                                                                                            Employee Vacation
COCHRAN, DAVID         Emp No: 002021         Address Redacted                                                              Accrual Claim                                                      $7,835.61         $7,835.61
                                                                                                                            Employee Vacation
COOPER, STEVEN         Emp No: 215057         Address Redacted                                                              Accrual Claim                                                        $307.69           $307.69
                                                                                                                            Employee Vacation
COXWELL, JANE          Emp No: 212065         Address Redacted                                                              Accrual Claim                                                        $736.00           $736.00
                                                                                                                            Employee Vacation
COYNE, CARLO           Emp No: 001034         Address Redacted                                                              Accrual Claim                                                        $208.00           $208.00
                                                                                                                            Employee Vacation
CURRY, SHERRI          Emp No: 214730         Address Redacted                                                              Accrual Claim                                                        $768.00           $768.00
                                                                                                                            Employee Vacation
DALEY, JAMES           Emp No: 000821         Address Redacted                                                              Accrual Claim                                                        $156.00           $156.00
                                                                                                                            Employee Vacation
DAVIS, LISA            Emp No: 215104         Address Redacted                                                              Accrual Claim                                                        $248.00           $248.00
                                                                                                                            Employee Vacation
DAVIS, WILLIAM         Emp No: 000082         Address Redacted                                                              Accrual Claim                                                      $1,840.00         $1,840.00
                                                                                                                            Employee Vacation
DOBSON, ASHTON         Emp No: 214849         Address Redacted                                                              Accrual Claim                                                      $2,307.69         $2,307.69
                                                                                                                            Employee Vacation
DOVE, STEVE            Emp No: 215535         Address Redacted                                                              Accrual Claim                                                        $307.69           $307.69



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                                                                          In re: Signal International, LLC
                                                                                 Case No. 15-11500
                                                                               Amended Schedule E-2
                                                                           Employee Vacation Accrual Claims




                                                                                                                                                            Unliquidated
                                                                                                                                               Contingent
                                                                                                                            Date claim was




                                                                                                              Codebtor




                                                                                                                                                                           Disputed
                                                                                                                             incurred and                                                                                  Amount not
                                                                                                                           consideration for                                          Total amount of   Amount entitled     entitled to
Creditor's Name     Creditor Notice Name   Address 1          Address 2   City    State    Zip      Country                       claim                                                    claim          to priority     priority, if any
                                                                                                                         Employee Vacation
DUFAULT, GREGORY    Emp No: 020257         Address Redacted                                                              Accrual Claim                                                      $2,461.00         $2,461.00
                                                                                                                         Employee Vacation
DUROCHER, GLORIA    Emp No: 212245         Address Redacted                                                              Accrual Claim                                                        $850.00           $850.00
                                                                                                                         Employee Vacation
ELEY, TERRY         Emp No: 094422         Address Redacted                                                              Accrual Claim                                                     $12,568.50        $12,475.00             $93.50
                                                                                                                         Employee Vacation
ELLERBE, LLOYD      Emp No: 004621         Address Redacted                                                              Accrual Claim                                                      $3,536.00         $3,536.00
                                                                                                                         Employee Vacation
FINKLEA, JOHN       Emp No: 900274         Address Redacted                                                              Accrual Claim                                                      $1,840.00         $1,840.00
                                                                                                                         Employee Vacation
FORSMAN, FRANCIS    Emp No: 000350         Address Redacted                                                              Accrual Claim                                                      $9,538.48         $9,538.48
                                                                                                                         Employee Vacation
FORTENBERRY, TIM    Emp No: 002847         Address Redacted                                                              Accrual Claim                                                        $460.00           $460.00
                                                                                                                         Employee Vacation
GEHRMANN, JEFFREY   Emp No: 214977         Address Redacted                                                              Accrual Claim                                                      $2,650.25         $2,650.25
                                                                                                                         Employee Vacation
GEORGE, RHONDA      Emp No: 212576         Address Redacted                                                              Accrual Claim                                                      $2,532.12         $2,532.12
                                                                                                                         Employee Vacation
GOODWIN, JON        Emp No: 000900         Address Redacted                                                              Accrual Claim                                                      $2,346.00         $2,346.00
                                                                                                                         Employee Vacation
GREGORY, CLIFFORD   Emp No: 096588         Address Redacted                                                              Accrual Claim                                                      $9,095.65         $9,095.65
                                                                                                                         Employee Vacation
GUNISETTI, RAMESH   Emp No: 500230         Address Redacted                                                              Accrual Claim                                                      $1,974.00         $1,974.00
                                                                                                                         Employee Vacation
HARPER, CARRIE      Emp No: 214683         Address Redacted                                                              Accrual Claim                                                      $1,523.67         $1,523.67
                                                                                                                         Employee Vacation
HARRIS, ERNEST      Emp No: 000707         Address Redacted                                                              Accrual Claim                                                      $1,472.00         $1,472.00
                                                                                                                         Employee Vacation
HATAWAY, JODY       Emp No: 003456         Address Redacted                                                              Accrual Claim                                                      $1,576.93         $1,576.93
                                                                                                                         Employee Vacation
HEBERT, DANIEL      Emp No: 006014         Address Redacted                                                              Accrual Claim                                                      $6,663.46         $6,663.46
                                                                                                                         Employee Vacation
HOLDEN, SIMON       Emp No: 215837         Address Redacted                                                              Accrual Claim                                                        $312.00           $312.00
                                                                                                                         Employee Vacation
HOLLOWAY, COREY     Emp No: 212814         Address Redacted                                                              Accrual Claim                                                        $344.50           $344.50
                                                                                                                         Employee Vacation
HOWARD, VAN         Emp No: 215299         Address Redacted                                                              Accrual Claim                                                      $2,640.00         $2,640.00
                                                                                                                         Employee Vacation
JOE, DARRYL         Emp No: 000178         Address Redacted                                                              Accrual Claim                                                      $7,442.31         $7,442.31
                                                                                                                         Employee Vacation
JOHNSON, KRISTIE    Emp No: 002155         Address Redacted                                                              Accrual Claim                                                      $2,021.40         $2,021.40
                                                                                                                         Employee Vacation
JOINER, QUITMAN     Emp No: 200036         Address Redacted                                                              Accrual Claim                                                      $1,196.00         $1,196.00
                                                                                                                         Employee Vacation
KELLEY, MICHAEL     Emp No: 214952         Address Redacted                                                              Accrual Claim                                                        $994.50           $994.50
                                                                                                                         Employee Vacation
KILLEEN, PATRICK    Emp No: 053310         Address Redacted                                                              Accrual Claim                                                      $5,975.11         $5,975.11
                                                                                                                         Employee Vacation
KREBS, SONJA        Emp No: 010013         Address Redacted                                                              Accrual Claim                                                      $6,148.12         $6,148.12



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                                                                             In re: Signal International, LLC
                                                                                    Case No. 15-11500
                                                                                  Amended Schedule E-2
                                                                              Employee Vacation Accrual Claims




                                                                                                                                                               Unliquidated
                                                                                                                                                  Contingent
                                                                                                                               Date claim was




                                                                                                                 Codebtor




                                                                                                                                                                              Disputed
                                                                                                                                incurred and                                                                                  Amount not
                                                                                                                              consideration for                                          Total amount of   Amount entitled     entitled to
Creditor's Name        Creditor Notice Name   Address 1          Address 2   City    State    Zip      Country                       claim                                                    claim          to priority     priority, if any
                                                                                                                            Employee Vacation
LADNIER, RONALD        Emp No: 054052         Address Redacted                                                              Accrual Claim                                                      $6,812.64         $6,812.64
                                                                                                                            Employee Vacation
LOGAN, OLIVER          Emp No: 005166         Address Redacted                                                              Accrual Claim                                                      $2,024.00         $2,024.00
                                                                                                                            Employee Vacation
LOTT, JOSEPH           Emp No: 215174         Address Redacted                                                              Accrual Claim                                                        $465.39           $465.39
                                                                                                                            Employee Vacation
LOVE, DONALD           Emp No: 093724         Address Redacted                                                              Accrual Claim                                                        $184.00           $184.00
                                                                                                                            Employee Vacation
MACK, WILLIAM          Emp No: 214848         Address Redacted                                                              Accrual Claim                                                        $625.00           $625.00
                                                                                                                            Employee Vacation
MALLETTE, GARY         Emp No: 000579         Address Redacted                                                              Accrual Claim                                                      $2,704.00         $2,704.00
                                                                                                                            Employee Vacation
MARTINS, GEORGE        Emp No: 212498         Address Redacted                                                              Accrual Claim                                                      $6,824.08         $6,824.08
                                                                                                                            Employee Vacation
MASON, JENNIFER        Emp No: 021382         Address Redacted                                                              Accrual Claim                                                      $8,375.02         $8,375.02
                                                                                                                            Employee Vacation
MCGOWAN, BRIAN         Emp No: 215563         Address Redacted                                                              Accrual Claim                                                        $368.00           $368.00
                                                                                                                            Employee Vacation
MELTON, DAVID          Emp No: 002032         Address Redacted                                                              Accrual Claim                                                      $3,031.89         $3,031.89
                                                                                                                            Employee Vacation
MITCHELL, KRISTA       Emp No: 214566         Address Redacted                                                              Accrual Claim                                                      $1,400.31         $1,400.31
                                                                                                                            Employee Vacation
MORALES, ROMEL         Emp No: 210532         Address Redacted                                                              Accrual Claim                                                      $1,160.00         $1,160.00
                                                                                                                            Employee Vacation
MURRAY, LENORE         Emp No: 002011         Address Redacted                                                              Accrual Claim                                                      $1,796.74         $1,796.74
                                                                                                                            Employee Vacation
NOBLE, LUCIAN          Emp No: 010020         Address Redacted                                                              Accrual Claim                                                      $9,795.30         $9,795.30
                                                                                                                            Employee Vacation
OVERSTREET, CHADWICK   Emp No: 003697         Address Redacted                                                              Accrual Claim                                                        $952.00           $952.00
                                                                                                                            Employee Vacation
PERRY, CYNTHIA         Emp No: 002217         Address Redacted                                                              Accrual Claim                                                      $3,388.00         $3,388.00
                                                                                                                            Employee Vacation
POOLE, LESLEY          Emp No: 213396         Address Redacted                                                              Accrual Claim                                                      $2,019.24         $2,019.24
                                                                                                                            Employee Vacation
POOLE, MARCUS          Emp No: 002775         Address Redacted                                                              Accrual Claim                                                      $2,400.00         $2,400.00
                                                                                                                            Employee Vacation
ROBERTSON, RUSSELL     Emp No: 215572         Address Redacted                                                              Accrual Claim                                                        $200.00           $200.00
                                                                                                                            Employee Vacation
ROCHE, JOSEPH          Emp No: 010035         Address Redacted                                                              Accrual Claim                                                     $24,355.96        $12,475.00        $11,880.96
                                                                                                                            Employee Vacation
ROGERS, JEFFREY        Emp No: 000896         Address Redacted                                                              Accrual Claim                                                      $7,673.09         $7,673.09
                                                                                                                            Employee Vacation
ROWAN, MARTY           Emp No: 006782         Address Redacted                                                              Accrual Claim                                                      $1,472.00         $1,472.00
                                                                                                                            Employee Vacation
ROWAN, MICHAEL         Emp No: 003025         Address Redacted                                                              Accrual Claim                                                        $552.00           $552.00
                                                                                                                            Employee Vacation
SCHNOOR, RONALD        Emp No: 010031         Address Redacted                                                              Accrual Claim                                                     $10,576.93        $10,576.93
                                                                                                                            Employee Vacation
SCHNOOR, RYAN          Emp No: 200067         Address Redacted                                                              Accrual Claim                                                      $9,288.46         $9,288.46



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                                                                                In re: Signal International, LLC
                                                                                       Case No. 15-11500
                                                                                     Amended Schedule E-2
                                                                                 Employee Vacation Accrual Claims




                                                                                                                                                                  Unliquidated
                                                                                                                                                     Contingent
                                                                                                                                  Date claim was




                                                                                                                    Codebtor




                                                                                                                                                                                 Disputed
                                                                                                                                   incurred and                                                                                  Amount not
                                                                                                                                 consideration for                                          Total amount of   Amount entitled     entitled to
Creditor's Name           Creditor Notice Name   Address 1          Address 2   City    State    Zip      Country                       claim                                                    claim          to priority     priority, if any
                                                                                                                               Employee Vacation
SCRUGGS, HAROLD           Emp No: 003961         Address Redacted                                                              Accrual Claim                                                      $1,773.17         $1,773.17
                                                                                                                               Employee Vacation
SENTELLE, TIMOTHY         Emp No: 021803         Address Redacted                                                              Accrual Claim                                                      $1,840.00         $1,840.00
                                                                                                                               Employee Vacation
SHARLOW, JEFFREY          Emp No: 006390         Address Redacted                                                              Accrual Claim                                                      $2,618.00         $2,618.00
                                                                                                                               Employee Vacation
SHEPPARD, JIMMY           Emp No: 000286         Address Redacted                                                              Accrual Claim                                                        $713.00           $713.00
                                                                                                                               Employee Vacation
SHOEMAKER, JERRY          Emp No: 214724         Address Redacted                                                              Accrual Claim                                                        $531.25           $531.25
                                                                                                                               Employee Vacation
SHOUSE, WILBUR            Emp No: 002023         Address Redacted                                                              Accrual Claim                                                     $16,252.45        $12,475.00          $3,777.45
                                                                                                                               Employee Vacation
SMITH, BRENDA             Emp No: 214726         Address Redacted                                                              Accrual Claim                                                        $535.50           $535.50
                                                                                                                               Employee Vacation
SMITH, CURTIS             Emp No: 000055         Address Redacted                                                              Accrual Claim                                                        $216.00           $216.00
                                                                                                                               Employee Vacation
SMITH, FRANK              Emp No: 200037         Address Redacted                                                              Accrual Claim                                                      $4,232.00         $4,232.00
                                                                                                                               Employee Vacation
SMITH, ROGER              Emp No: 001397         Address Redacted                                                              Accrual Claim                                                        $782.00           $782.00
                                                                                                                               Employee Vacation
SMITH, STEVE              Emp No: 210899         Address Redacted                                                              Accrual Claim                                                      $1,840.00         $1,840.00
                                                                                                                               Employee Vacation
SMITH, SUMMER             Emp No: 212819         Address Redacted                                                              Accrual Claim                                                        $300.00           $300.00
                                                                                                                               Employee Vacation
STEVISON, JARRED          Emp No: 215536         Address Redacted                                                              Accrual Claim                                                        $480.77           $480.77
                                                                                                                               Employee Vacation
STEWART, GEORGE           Emp No: 001236         Address Redacted                                                              Accrual Claim                                                      $3,243.00         $3,243.00
                                                                                                                               Employee Vacation
STEWART, JONATHAN         Emp No: 200924         Address Redacted                                                              Accrual Claim                                                        $338.00           $338.00
                                                                                                                               Employee Vacation
STOKES, HOWELL            Emp No: 025626         Address Redacted                                                              Accrual Claim                                                     $15,387.28        $12,475.00          $2,912.28
                                                                                                                               Employee Vacation
SUTTON, EDDIE             Emp No: 212831         Address Redacted                                                              Accrual Claim                                                      $2,162.00         $2,162.00
                                                                                                                               Employee Vacation
TAFT, ALBERT              Emp No: 200040         Address Redacted                                                              Accrual Claim                                                        $104.00           $104.00
                                                                                                                               Employee Vacation
TANNER, WILLIAM           Emp No: 001842         Address Redacted                                                              Accrual Claim                                                      $7,415.42         $7,415.42
                                                                                                                               Employee Vacation
THEPPHANORINH, SOMCHANH   Emp No: 003841         Address Redacted                                                              Accrual Claim                                                      $2,760.00         $2,760.00
                                                                                                                               Employee Vacation
THIBAULT, SHERRY          Emp No: 212951         Address Redacted                                                              Accrual Claim                                                        $503.50           $503.50
                                                                                                                               Employee Vacation
VENDEIRO, LISA            Emp No: 212327         Address Redacted                                                              Accrual Claim                                                      $3,271.15         $3,271.15
                                                                                                                               Employee Vacation
WALTERS, PHILLIP          Emp No: 214259         Address Redacted                                                              Accrual Claim                                                        $874.00           $874.00
                                                                                                                               Employee Vacation
WALTMAN, ALBERT           Emp No: 000740         Address Redacted                                                              Accrual Claim                                                      $1,188.00         $1,188.00
                                                                                                                               Employee Vacation
WARREN, ANTHONY           Emp No: 000110         Address Redacted                                                              Accrual Claim                                                      $3,680.00         $3,680.00



                                                                                            Page 4 of 5
                                         Case 15-11500-MFW                     Doc 5      Filed 08/18/15                  Page 10 of 11
                                                                        In re: Signal International, LLC
                                                                               Case No. 15-11500
                                                                             Amended Schedule E-2
                                                                         Employee Vacation Accrual Claims




                                                                                                                                                          Unliquidated
                                                                                                                                             Contingent
                                                                                                                          Date claim was




                                                                                                            Codebtor




                                                                                                                                                                         Disputed
                                                                                                                           incurred and                                                                                  Amount not
                                                                                                                         consideration for                                          Total amount of   Amount entitled     entitled to
Creditor's Name   Creditor Notice Name   Address 1          Address 2   City    State    Zip      Country                       claim                                                    claim          to priority     priority, if any
                                                                                                                       Employee Vacation
WHEELER, DAVID    Emp No: 000463         Address Redacted                                                              Accrual Claim                                                      $1,309.00         $1,309.00

                                                                                                                                             Total:                                     $350,747.98       $331,837.64        $18,910.34




                                                                                    Page 5 of 5
                                 Case 15-11500-MFW                         Doc 5          Filed 08/18/15                Page 11 of 11
UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
In re: Signal International, LLC                                                                                                             Case No. 15-11500 (MFW)

                 DECLARATION
               DECLARATION    CONCERNING
                           CONCERNING     DEBTOR'S
                                      DEBTOR'S     $0(1'('
                                               AMENDED          E-2
                                                            SCHEDULES
                                                       SCHEDULE


I, Chris Cunningham, Chief Financial Officer of the corporation named as debtor in this case, declare under penalty of perjury that I have read the foregoing DPHQGHG
VXPPDU\ and schedules, consisting of 10 sheets, and that they are true and correct to the best of my knowledge, information, and belief.




      8/1/2015                                                                                   / s / Chris Cunningham
Date ______________________________________                                        Signature: ______________________________________________________________
                                                                                                       Chris Cunningham

                                                                                                       Chief Financial Officer




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Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.§§
152 and 3571.
